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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

       DALANEA TAYLOR; TAMMY
       HEILMAN; DARLENE DEEGAN;
       and ROBERT A. JONES, III,

         Plaintiffs,

       vs.                          Case No.: 8:21-cv-00555-SDM-CPT

       CHRIS NOCCO, in his
       official capacity as
       Pasco County Sheriff,

         Defendant.
       ________________________/




       PROCEEDINGS:            Deposition of
                               DALANEA TAYLOR


       DATE:                   May 18, 2022


       TIME:                   1:00 p.m. - 2:40 p.m.


       PLACE:                  Via Zoom


       REPORTED BY:            Judy Anderson, Court Reporter
                               Notary Public
                               State of Florida at Large




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Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 2 of 61 PageID 8103
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 18

 19

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                                                                             5


  1                               DALANEA TAYLOR,

  2      being first duly sworn to tell the truth, the whole

  3      truth, and nothing but the truth, was examined and

  4      testified as follows:

  5                THE WITNESS:     Yes, ma'am.

  6                             DIRECT EXAMINATION

  7    BY MR. POULTON:

  8           Q.   Good afternoon, Ms. Taylor.        My name is Tom

  9    Poulton.     I'm one of the attorneys that represents

 10    Sheriff Nocco in the lawsuit that you've brought along

 11    with Mr. Jones, Ms. Deegan, and Ms. Heilman.

 12                I understand you just gave birth not too long

 13    ago.

 14           A.   I did.

 15           Q.   Congratulations.       But please be aware if you

 16    need to take a break for any reason, let us know.           Okay?

 17    Certainly under the circumstances we'll stop wherever

 18    you need to stop if you need to go take care of

 19    anything.     Okay?

 20           A.   Okay.     Thank you.

 21           Q.   Sure.

 22                I have with me -- just so the record's clear, I

 23    have with me an intern that's new to my office Josh

 24    Kobrin.     He's just sitting in to observe, and he'll

 25    probably leave in about an hour.           He's not in -- he's
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                                                                             6


  1    not on camera, won't be doing anything, but I just

  2    wanted to note that he's present.

  3               COURT REPORTER:    Can you spell his name for me,

  4        sir?

  5               MR. POULTON:   Sure.   It's K-O-B-R-I-N, first

  6        name is Joshua, common spelling.

  7               COURT REPORTER:    Thank you, sir.

  8    BY MR. POULTON:

  9        Q.     Before we went on the record, we discussed some

 10    reports that I wanted to refer to, and it appears that

 11    the plaintiffs' attorneys do not have these reports.

 12    Some of them go back quite far in about the 2012

 13    timeframe, and I -- and since we're not certain and we

 14    haven't had a chance to completely compare, what we're

 15    going to do -- we won't be attaching them as exhibits,

 16    but I'm going to do my best to have my office reach out

 17    to plaintiffs' counsel either later today or tomorrow to

 18    make sure that we've produced them either subject to

 19    confidentiality agreement or in redacted form as would

 20    be our responsibility in response to requests for

 21    production or under Federal Rule 26.        So we will talk

 22    about what's in the reports, but I won't attach the

 23    reports as exhibits just because I have only the

 24    unredacted versions right now and they do involve

 25    juveniles.    Okay.
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                                                                             7


  1                Ms. Taylor, have you ever had your deposition

  2    taken before?

  3        A.      No.

  4        Q.      A couple of ground rules:    Your attorney

  5    probably discussed this with you, but it's important

  6    that you answer audibly.      That's probably the most

  7    important thing because the court reporter is taking

  8    down what we say, and if you shake your head or nod your

  9    head or say uh-huh or uh-uh, that's doesn't translate

 10    well onto paper.

 11        A.      Okay.

 12        Q.      Right.   So please answer audibly.     And if I --

 13    we get to a point where I detect us going off the rails

 14    on that, I'll let you know.

 15                One other thing is to try to let me finish

 16    asking the question before you start to answer it.

 17        A.      Okay.

 18        Q.      And I'll extend you the same courtesy of

 19    letting you finish your answer before I ask the next

 20    question.

 21        A.      Okay.

 22        Q.      So let me begin by asking you where you

 23    currently reside.

 24        A.      I reside at 5532 Baroque Drive.

 25        Q.      How do I --
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                                                                             8


  1        A.    (Inaudible.)

  2        Q.    I'm sorry.     How do I spell the name of that

  3    street?

  4        A.    B-A-R-O-Q-U-E.     I'm -- I just moved in

  5    literally yesterday.

  6        Q.    Oh, is that right?     Okay.   And it's 5532

  7    Baroque Drive?

  8        A.    Yes.

  9        Q.    What city is that in?

 10        A.    Holiday, Florida.

 11        Q.    All right.     Who lives with you at 5532 Baroque

 12    Drive?

 13        A.    My man and my children.

 14        Q.    How many children do you have?

 15        A.    Three.

 16        Q.    And you said there's a gentleman that lives

 17    with you as well?

 18        A.    Yes.

 19        Q.    All right.     I won't ask for the name of the

 20    children, but can you give me the name of the gentleman

 21    that resides with you?

 22        A.    Eric.

 23        Q.    And his last name?

 24        A.    Wright.

 25        Q.    How do I spell that?
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                                                                             9


  1        A.    W-R-I-G-H-T.

  2        Q.    Where did you reside before 5532 Baroque Drive?

  3        A.    With my sister.

  4        Q.    What's her name?

  5        A.    Vanessa.

  6        Q.    Same last name Taylor?

  7        A.    Yes.

  8        Q.    Where did the two of you live?

  9        A.    At her house.

 10        Q.    Okay.   Prior to that did you live with your

 11    sister and your grandmother?

 12        A.    Yes.

 13        Q.    What's your grandmother's name?

 14        A.    Dana Jones.

 15        Q.    All right.     I'm going to show you some video a

 16    little bit later on.      You've probably seen some of it

 17    from the body-worn camera of the deputies, and there's

 18    an older woman that comes out and talks periodically,

 19    and I'll ask you whether or not that's Dana Jones, okay,

 20    when we get to it.

 21        A.    Okay.

 22        Q.    Did your mother live with you at any time say

 23    in the 2013 period forward?

 24        A.    Off and on.

 25        Q.    Okay.   What's her name?
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                                                                             10


   1         A.   Marnie Tabor.

   2         Q.   How do I -- and Marnie is spelled how?

   3         A.   M-A-R-N-I-E.

   4         Q.   And the last name?

   5         A.   T-A-B-O-R.

   6         Q.   Okay.   And you said she lived with you off and

   7   on?

   8         A.   Yes.

   9         Q.   And what was the address that you lived at with

 10    Dana Jones, your sister Vanessa, and occasionally

 11    Ms. Tabor?

 12          A.   6029 Dublin Drive.

 13          Q.   And when did you first move into 6029 Dublin

 14    Drive?

 15          A.   I'm not sure the exact date.

 16          Q.   You were -- were you a teenager or even a

 17    little younger than that when you first moved in?

 18          A.   Yes, I was a little bit younger.

 19          Q.   Okay.   And when did you move out of 6029 Dublin

 20    Drive?

 21          A.   Again, I'm still not sure of the exact date.         I

 22    was there on and off per se for a long time.

 23          Q.   Period of at least a few years; right?

 24          A.   Yes.

 25          Q.   Is Ms. Jones still alive?
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                                                                             11


   1        A.     Yes.

   2        Q.     Okay.   There was a -- the reason I ask is there

   3   was some reference in some of the videos to her having

   4   some health problems, so I just wanted to be sure.

   5               Does she still live at 6029 Dublin Drive?

   6        A.     Yes.

   7        Q.     Why did you leave 6029 Dublin Drive?

   8        A.     I just -- I just found a better place to stay

   9   with somebody else.      That's about it.

 10         Q.     I'm sorry I interrupted you.     I did exactly

 11    what I said not to do at the beginning.         So go ahead and

 12    finish your answer.      I'm sorry.

 13         A.     No -- no specific per se reason, not really.

 14         Q.     Did you move from 6029 Dublin to the location

 15    to your sister's house?

 16         A.     Yes.

 17         Q.     And I understand at one point that you had

 18    twins?

 19         A.     Yes.

 20         Q.     Did you having the twins have anything to do

 21    with moving out from 6029 Dublin and over to your

 22    sister's?

 23         A.     At a point, yes, but I lived there with them as

 24    well.

 25         Q.     Okay.   So there was a period of time where you
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                                                                             12


   1   and the twins lived at 6029 Dublin Drive along with your

   2   grandmother?

   3        A.    Yes.

   4        Q.    Do you know about how long that was before you

   5   moved out after you had the twins?

   6        A.    A few months.

   7        Q.    Are you currently employed?

   8        A.    No, sir.     Right now I'm not employed because of

   9   my newborn and me having to breastfeed.

 10         Q.    All right.     I'm going to ask you -- I'm trying

 11    to under the circumstances curtail this as much as

 12    possible and make it as brief as possible.         So I'm just

 13    going to kind of dive right into some of the criminal

 14    matters that you were -- that you had interaction with

 15    the Sheriff's Office regarding, and it's -- none of this

 16    is meant to embarrass you.       I'm just trying to in my own

 17    mind get the sequence down of events and then to

 18    understand some the interactions.

 19               Let me begin by asking, my understanding is you

 20    went to prison for a period of time?

 21         A.    Yes.

 22         Q.    Was that state prison?

 23         A.    Yes.

 24         Q.    Was that juvenile prison or an adult prison?

 25         A.    An adult prison.
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                                                                             13


   1        Q.     What was -- did they send you to one in

   2   particular, you stayed there the whole time, or did they

   3   move you around?

   4        A.     I went to Lowell CI for my whole time.

   5        Q.     Lowell?

   6        A.     Lowell CI.

   7        Q.     How do I spell that?

   8        A.     L-O-W-E-L-L.

   9        Q.     Okay.     Where is Lowell CI?

 10         A.     In Ocala, Florida.

 11         Q.     Did you need to -- you looked off.      Did you

 12    need to go do something?

 13         A.     No.     Somebody came in, and I'm just telling

 14    them to give us privacy.

 15         Q.     Okay.     Again, if you need to take a break for

 16    any reason, let us know.        Okay?

 17                All right.     How long were you in Lowell

 18    Correctional Institute?

 19         A.     I got sentenced to do two years.

 20         Q.     How long did you actually serve?

 21         A.     I'm not sure how many months.     Probably about

 22    fourteen.

 23         Q.     So a little over a year?

 24         A.     Yes.

 25         Q.     What were the charges on which you were
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                                                                             14


   1   sentenced to prison?

   2        A.    They were multiple grand theft autos and auto

   3   burglaries.

   4        Q.    Was there a violation of probation charge in

   5   there as well do you recall?

   6        A.    Yes.

   7        Q.    Okay.   And do you recall the date that you went

   8   into prison and the date you got out?

   9        A.    I went in August -- August 18th of 2016.        I'm

 10    not -- I'm not sure of the exact dates.         I'm not gonna

 11    tell you and then it be wrong.

 12         Q.    Well, that's fine.     I understand what you're

 13    saying.    If you could give me like a --

 14         A.    I think the date that I got out was March 26th

 15    of 2017.

 16         Q.    Okay.   Would it be fair to say it was -- well,

 17    couldn't have been August of 2016.        Could it have been

 18    August of 2015?

 19         A.    Possibly.   Like I said, I'm not -- I'm not

 20    really sure exactly when I went in.

 21         Q.    Well, I'm sure that we can find the

 22    documentation on it.      I was just -- if you don't

 23    remember, that's fine.      But you do remember you got out

 24    on March 26, 2017?

 25         A.    Yes.
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                                                                             15


   1        Q.    And you went back then to 6029 Dublin Drive?

   2        A.    Yes.

   3        Q.    All right.   In the -- share -- well, let me do

   4   this first, pull this up.

   5              Your attorneys at one point in the case

   6   provided information as to what your own individual

   7   claim was as to damages, and I'm going to show you that

   8   document and ask you just to make sure we're all on the

   9   same page about what it is you're seeking in terms of

 10    compensation.

 11               This is going to be Exhibit 1, and it's

 12    Plaintiffs' First Supplemental Rule 26(a)(1) Initial

 13    Disclosures dated July 26, 2001.

 14               (Exhibit No. 1 was marked for identification.)

 15    BY MR. POULTON:

 16         Q.    Referring you to page 4, can you see that?

 17         A.    Yes.

 18         Q.    Okay.   This indicates that you're -- the

 19    plaintiff requests an award of $1 in nominal damages for

 20    each separate plaintiff.      Compensatory damages to be

 21    calculated from the following list of costs, which we'll

 22    get to in a minute.     And then to streamline the

 23    litigation, plaintiffs have updated their list of costs

 24    to remove damages for lost future income and emotional

 25    and reputational harm.      Do you see that?
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                                                                             16


   1        A.     Yes.

   2        Q.     Okay.   So there's several different types of

   3   damages people can claim in lawsuits.        As you may have

   4   heard before, it's like economic versus non-economic

   5   damages, non-economic damages being things like

   6   emotional pain and suffering.

   7               And my understanding is you are not claiming

   8   that kind of damage in this case.        You're just claiming

   9   economic loss; is that correct?

 10         A.     Correct.

 11         Q.     So when I look down here, they're broken out a

 12    little bit more elaborately.       You are listed as far as I

 13    can see only in section paragraph three.         It's on page

 14    four.     It says Dalanea Taylor for missing work and

 15    arriving late to work because of visits by PCSO deputies

 16    as a result of the program.       Do you see that?

 17         A.     Yes, sir.

 18         Q.     Okay.   Can you elaborate on that?     Were you

 19    employed at some point and you were late to work because

 20    you had interactions with Pasco deputies?

 21         A.     Yes, sir.   There's been I'm not going to say

 22    quite a few times but there have been a few times where

 23    I had to miss work or was late to work because when I do

 24    self-employment and they -- the person would have to be

 25    home for me to come and do everything that's needed to
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                                                                             17


   1   be done, and if I'm not there on time, they have

   2   something to do, that's when they leave, and then I miss

   3   that day.        It's not -- it's timed out, but if I'm there

   4   on their time, then I just will miss that work.

   5          Q.      Was there a -- was there a company that you

   6   were working for when this happened?

   7          A.      A company?   It's not per se a company.   It's a

   8   LLC.        Basically, I want to -- I work under somebody that

   9   has clients, and that's where we would go.         They call us

 10    and tell us the address, and we go there, and we do any

 11    type of home work that they may need, grocery runs.

 12           Q.      Was this like a lot of helping -- helping

 13    elderly persons --

 14           A.      Yes.

 15           Q.      -- or disabled persons?

 16           A.      Yes.

 17           Q.      Do you recall the name of the LLC or the person

 18    that you worked for?

 19           A.      Yes, I do.

 20           Q.      Which one or both?

 21           A.      Both.

 22           Q.      Okay.   What was the name of the LLC?

 23           A.      Cleaning Homes, LLC.   There's two people but I

 24    can give you Darlene.

 25           Q.      What's Darlene's last name?
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                                                                             18


   1          A.   Bachelor.

   2          Q.   Okay.   She's one of the persons that directed

   3   you where to go?

   4          A.   Yes.

   5          Q.   And you said there was a second one?

   6          A.   I didn't really go under her, so I would not

   7   know her last name, but Denise.

   8          Q.   Okay.   Denise, and you just don't know the last

   9   name?

 10           A.   Yes.

 11           Q.   When you worked for LLC, how were you paid?

 12    Were you paid in cash or paid, you know, hourly at

 13    certain intervals, or did you get a salary?

 14           A.   It was all cash.

 15           Q.   Okay.   Do you know if there were any records of

 16    the cash that you made?

 17           A.   Sir?

 18           Q.   Well, when you say you were paid in cash, does

 19    that mean that somebody, for example, Darlene Bachelor

 20    would simply at some point hand you money?

 21           A.   After the job was done we would get paid every

 22    day.

 23           Q.   And you were paid in like -- in like twenty and

 24    hundred dollar and fifty dollar and ten dollar bills?

 25           A.   Yes.
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                                                                             19


   1        Q.    All right.     As opposed to by check?

   2        A.    A check?     No, we would never get -- we would

   3   never get checks.

   4        Q.    Okay.     Do you know whether or not there was any

   5   record kept of the time that you worked and what you got

   6   paid?

   7        A.    I'm not sure.     Like I said, I just worked and

   8   got my money and went about my way.

   9        Q.    Okay.     Was this something that you did on a

 10    routine basis like every Tuesday, Wednesday, Thursday,

 11    or was this more something that you did you would call

 12    up and say, hey, I'm available, and if they had a job,

 13    they would send you?

 14         A.    Almost every day we would get a job.

 15         Q.    Where -- and who paid you?      Was it Darlene

 16    herself that paid you directly or somebody else?

 17         A.    No.     Our clients, before we'd leave their

 18    house, they would pay us.

 19         Q.    I got you.     Okay.

 20               See, the reason I'm asking these questions,

 21    just so you understand, is I'm -- you know, when you

 22    make a claim like this, I'm trying to figure out how it

 23    could be documented in some way, you know, how you lost

 24    time from not being there or being late.

 25               So let me just ask you is there -- to your
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                                                                             20


   1   knowledge are there any documents that demonstrate

   2   what -- when you were late to work because of an

   3   interaction with deputies or that you missed work

   4   because of an interaction with deputies?

   5          A.   I don't -- I have no idea how she would keep

   6   that.

   7          Q.   Okay.   Did you write down whenever you missed

   8   work or were late for work because of interactions with

   9   deputies?

 10           A.   No, I did not.

 11           Q.   Do you have an estimate of how much work you

 12    missed out on or pay you lost out on because of

 13    interactions with deputies?

 14           A.   I'm not exactly sure to the dollar because

 15    I'm -- it's not something that I would just sit there

 16    and write down or keep track of at the moment.

 17           Q.   Well, let me ask you this.     Were there other

 18    reasons besides interactions with deputies that might

 19    have caused you to be late or to miss work on any given

 20    particular day?

 21           A.   No, I don't -- I go to work, and I don't have

 22    nothing that would stop in between that.

 23           Q.   Okay.   When -- well, let me ask you this.      When

 24    was the last time that you worked for Cleaning Homes,

 25    LLC?
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                                                                             21


   1         A.   It's been a few months.

   2         Q.   Do you have any idea --

   3         A.   I stopped --

   4         Q.   Sorry about that.

   5         A.   I stopped working for them once I found out I

   6   was pregnant, and I was two months into my pregnancy.

   7         Q.   Do you have any plans to go back to work with

   8   them?

   9         A.   As of right now, no, due to the breastfeeding,

 10    and I'm only able to produce so much at a time, so I

 11    have to stay with the kid right now.

 12          Q.   Okay.   All right.    Thank you.

 13               And I don't know exactly how to just get into

 14    this, so I'll just ask it the best way that I can think

 15    of.

 16               It's my understanding from all the different

 17    documentation that we have is that at some point you

 18    became involved with a group of other young people that

 19    called themselves The Squad and committed some auto

 20    burglaries and similar crimes.

 21               First of all, is that just generally correct at

 22    some point you were with The Squad?

 23          A.   I -- I was with -- there was a few people, but

 24    I don't want to call ourself The Squad.

 25          Q.   Okay.   Have you ever heard that name for the
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                                                                             22


   1   group of people that you were hanging out with?

   2        A.    I -- I don't -- I don't know.      I've never heard

   3   that before.

   4        Q.    Okay.     My understanding is that at least two of

   5   the people that you were involved with in criminal

   6   activity when you were much younger were some cousins,

   7   the Keeven brothers?

   8        A.    Yes.

   9        Q.    And there was a Justin Keeven I think?

 10         A.    Yes.

 11         Q.    And who was the other one?

 12         A.    Austin.

 13         Q.    Are you in touch with them?

 14         A.    Yes.

 15         Q.    What sorts -- and we don't have to get into all

 16    of the details necessarily today, but what sorts of

 17    criminal activity did you engage in with Justin and with

 18    Austin?

 19               MS. BROTHERS:     I'm going to object to that.

 20         You don't have to answer anything that you weren't

 21         convicted of.

 22    BY MR. POULTON:

 23         Q.    Okay.     That's fair.   And to understand, this is

 24    -- again, this is not for purposes of embarrassing you

 25    or anything like that.       I'm just trying to establish
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 23 of 61 PageID 8124
                                                                             23


   1   that there was some criminal activity that occurred.             If

   2   you'd like, we can approach it a different way so that

   3   it's not so difficult.

   4              Let me ask you this.     Do you remember a time

   5   when you got arrested and you admitted to deputies that

   6   you had committed at least 50 car burglaries?

   7        A.    Yes.

   8        Q.    Okay.     What were the circumstances of you

   9   explaining that to the deputy, do you recall?

 10         A.    No.     Probably just pressure.

 11               MS. BROTHERS:     Objection.

 12    BY MR. POULTON:

 13         Q.    Okay.     Was that true though when you made that

 14    statement to the deputy that you had committed at least

 15    50 car burglaries?

 16         A.    No.     No, that was just me just saying whatever

 17    to him.

 18               MR. BARGIL:     Tom, we might need to step off the

 19         record for a second to discuss this line of

 20         questions.

 21               MR. POULTON:     That's fine.     We can go off the

 22         record.

 23               (Off-the-record discussion.)

 24    BY MR. POULTON:

 25         Q.    Mrs. Taylor, we went off the record to discuss
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 24 of 61 PageID 8125
                                                                             24


   1   some documents and what's reflected in the documents

   2   regarding prior criminal history, and your counsels

   3   expressed some concern about you testifying to anything

   4   for which you were not already convicted, and I think

   5   that the solution we're going to come to, because we

   6   also are not 100 percent sure of which documents you

   7   have versus what we have or your attorneys have, so what

   8   we're going to do is we're going to just abstain from

   9   that for the moment, and we will confer with counsel

 10    and make sure we're all working off the same universe of

 11    documents.    And then if there's a question about whether

 12    something expressed in this document is accurate or not,

 13    we'll come back maybe with a short follow-up deposition

 14    just to confirm it on the order of five minutes.

 15    Hopefully, we can work around it.        We've worked around

 16    these kinds of issues before.

 17               Fair enough, Ms. Brothers?

 18               MS. BROTHERS:    Yes.

 19    BY MR. POULTON:

 20         Q.    Okay.   So let me ask you then in this respect

 21    for what crimes have you ever been convicted?

 22         A.    There's been grand theft auto and auto

 23    burglaries.    I was convicted of 21 charges as an adult.

 24         Q.    And that's what led to your incarceration in

 25    Lowell?
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 25 of 61 PageID 8126
                                                                             25


   1        A.    Yes.

   2        Q.    Have you ever heard the phrase car hopping?

   3        A.    Yes.

   4        Q.    What's car hopping?      What is car hoping?

   5        A.    I don't know.      Everybody has their own

   6   perspective on it.

   7        Q.    Are auto burglaries car hopping or can be car

   8   hopping?

   9        A.    If you look at it that way.

 10         Q.    So I mean, for example, if you saw a group of

 11    cars parked on the side of the road, you might test to

 12    see which ones were open and which weren't, and the ones

 13    that were open, car hoping would involve going into that

 14    car and taking loose change, anything of value?

 15         A.    Sure.   Yeah.

 16         Q.    I'm sorry?      Okay.

 17         A.    Yeah.

 18         Q.    Is that the kind of thing that was going on

 19    with the auto burglaries that you were convicted of?

 20               MS. BROTHERS:      Object to form.

 21    BY MR. POULTON:

 22         Q.    Do you understand my question?

 23         A.    Yes.

 24         Q.    So that is -- that's what the auto burglaries

 25    were was that sort of crime?
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 26 of 61 PageID 8127
                                                                             26


   1        A.    Yes.

   2        Q.    All right.   Let me show you -- let's talk about

   3   sometimes when the deputies would come out to talk to

   4   you after you got out of prison.       And before I get into

   5   those specific instances, let me ask you was there --

   6   did you have deputies before you went to prison ever

   7   come out to your house there at Dublin Drive to speak to

   8   you about criminal activity that either you might be

   9   involved in or that you might be able to point them

 10    towards?

 11         A.    Say that again.

 12         Q.    Well, when you got out of prison, that's when

 13    you went on the prolific offender list.         Is that your

 14    understanding?

 15         A.    Yes.

 16         Q.    Before you went to prison, you weren't on the

 17    prolific offender list as far as you know; correct?

 18         A.    No.

 19         Q.    All right.   Let me rephrase the correction or

 20    the question.     Prior to you going to prison, were you on

 21    the prolific offender list?

 22         A.    Not that I know of.     I wasn't made aware until

 23    somebody told me.

 24         Q.    And this was after you were out of prison?

 25         A.    Yes.
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 27 of 61 PageID 8128
                                                                             27


   1        Q.    Before you went to prison, did deputies ever

   2   come to your house there on Dublin Drive and speak to

   3   you about either criminal activity that you might be

   4   involved in and try to discourage you from doing that or

   5   asking you questions about other persons that you might

   6   be connected to that were committing criminal activity?

   7        A.    No, I don't believe so.

   8        Q.    All right.     I'm going to show -- do my best to

   9   show you some video of some of the interactions that

 10    were captured on body-worn camera from deputies on

 11    different occasions.       Okay?     And I don't know that these

 12    are necessarily in date order because I just saved them

 13    to the file for use today.          I've got about five of them.

 14               If you need to take a break at any point, let

 15    me know.    I think they are typically on the order of

 16    four, five, six minutes long.          Okay?

 17         A.    Okay.

 18               COURT REPORTER:     Do you need me to take these

 19         videos down, or what are you doing here?

 20               MR. POULTON:     No, you don't need to write --

 21         you don't need to do that.         They're going to be

 22         attached as exhibits.         Exhibit 1 was the Rule 26.

 23         Exhibit 2 will be this video dated January 1, 2018.

 24               (Exhibit No. 2 was designated to be marked for

 25         identification.)
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                                                                             28


   1               (Video was played at this time.)

   2               MR. POULTON:    Can you see that on the screen by

   3        the way?

   4               MS. BROTHERS:     Yes.

   5               MR. POULTON:    I'm sorry.   Somebody said no?

   6               COURT REPORTER:     We can see it.

   7               MR. POULTON:    I'm going to advance it a bit.

   8               (Video was played at this time.)

   9   BY MR. POULTON:

 10         Q.     Okay.   Now is the house that we see on screen

 11    there at the 46 second mark -- is that 6029 Dublin

 12    Drive?

 13         A.     Yes.

 14                (Video was played at this time.)

 15    BY MR. POULTON:

 16         Q.     Can you hear the knocking and then the dog

 17    barking?     I just want to make sure you can hear it on

 18    your end.

 19         A.     Yes.

 20                (Video was played at this time.)

 21    BY MR. POULTON:

 22         Q.     Okay.   Now we were just at about 1:30, 1:45

 23    there.     There was a reference to somebody that was

 24    apparently sleeping in the carport, and you said it

 25    might be your dad.      Did your dad live with you during
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 29 of 61 PageID 8130
                                                                             29


   1   this time period in January of 2018?

   2        A.    No, he never lived there.       He would just come

   3   there, you know, once in a while.

   4        Q.    Okay.

   5        A.    That's it.

   6        Q.    What's your father's name?

   7        A.    Jeff.

   8        Q.    Taylor?

   9        A.    Yes.

 10         Q.    Okay.     Thanks.

 11               (Video was played at this time.)

 12    BY MR. POULTON:

 13         Q.    Okay.     Now at 2:01 we see somebody coming out

 14    the front door.       Is that Dana Jones, your grandmother?

 15         A.    Yes.

 16               (Video was played at this time.)

 17    BY MR. POULTON:

 18         Q.    Here at about 3:20 to 3:29 there's discussion.

 19    Ms. -- you see Ms. Jones there is complaining about

 20    frequent visits in -- too early for her, and the deputy

 21    advised her that if she wanted to, she could call the

 22    Sheriff's Office to complain.         Did you see that?

 23         A.    Yes.

 24               MS. BROTHERS:       I'm just going to object that

 25         the video speaks for itself.
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 30 of 61 PageID 8131
                                                                             30


   1   BY MR. POULTON:

   2        Q.    Well, did you understand that if you wanted to,

   3   you or Ms. Jones could have called the Sheriff's Office

   4   to complain about the frequency of visits or the time of

   5   the visits?

   6        A.    Okay.

   7        Q.    I'm asking you did you understand that you

   8   could have called the Sheriff's Office -- you or

   9   Ms. Jones could have called the Sheriff's Office to

 10    complain if you'd wanted to?

 11               MS. BROTHERS:    I'm going to object to the form.

 12    BY MR. POULTON:

 13         Q.    Do you understand my question?

 14         A.    Yes.

 15         Q.    All right.    So can you answer for me, please?

 16    Did you -- did you understand that you could have called

 17    the Sheriff's Office if you wanted to to complain?

 18               MS. BROTHERS:    Same objection.

 19               You can answer if you can, Dalanea.

 20         A.    Okay.

 21               Yes.    But then again, he still made me feel

 22    very uncomfortable in coming there.        That was not the

 23    first time they'd been there doing the same thing over

 24    and over and over.      I don't understand what they wanted

 25    -- what response they wanted.
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                                                                             31


   1   BY MR. POULTON:

   2          Q.   Did you call the Sheriff's Office to complain?

   3          A.   No, sir.

   4          Q.   Do you know whether or not --

   5          A.   Because when you call -- when you call the

   6   Sheriff's Office, you get the same results.

   7          Q.   Well, how do you know if you didn't call the

   8   Sheriff's Office what the result would have been?

   9          A.   I've called -- I haven't called them about this

 10    incident, but I've called them before and I've gotten

 11    the same result.

 12           Q.   Which is?

 13           A.   Nothing.

 14           Q.   Did you ever call the --

 15           A.   (Inaudible).

 16           Q.   Okay.     I'm sorry.   I didn't mean to interrupt

 17    you.

 18           A.   You're good.

 19           Q.   Okay.     Did you ever call the Sheriff's Office

 20    to complain about prolific offender checks?

 21           A.   No.     I thought they all run together.    I didn't

 22    know you can really call and complain about something

 23    that I knew nothing about.

 24           Q.   Did you send any sort of a letter or fill out

 25    any sort of a grievance at the Sheriff's Office about
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 32 of 61 PageID 8133
                                                                             32


   1   the prolific offender checks?

   2        A.    No.

   3              (Video was played at this time.)

   4   BY MR. POULTON:

   5        Q.    Now right there at -- I'm going to back that up

   6   a little bit -- at 4:40 -- it's like about -- well,

   7   about 4:40 or so here the deputy's going to say he's

   8   sorry, and you indicate it's okay.        Did you hear that?

   9   I'm going to play it again for you.

 10               (Video was played at this time.)

 11         A.    You don't have to play it again.       I heard it.

 12    But I said in the beginning -- I asked him when he was

 13    -- when the whole thing was going to stop, meaning when

 14    are they going to stop coming by.        Meaning I was not

 15    okay with his visit.

 16    BY MR. POULTON:

 17         Q.    Okay.   But you would agree with me that later

 18    on when he said he was sorry to cause trouble with your

 19    grandmother there that you said it was okay?

 20               MS. BROTHERS:     I'm going to object that the

 21         video speaks for itself.

 22         A.    What she said.

 23               (Video was played at this time.)

 24               MR. POULTON:     All right.   So that's going to be

 25         Exhibit 1 to the deposition.
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 33 of 61 PageID 8134
                                                                             33


   1              COURT REPORTER:     Exhibit 2.

   2              MR. POULTON:     I'm so sorry.   Exhibit 2.

   3              The next one will be 3-31-2018 video.

   4              (Video was played at this time.)

   5   BY MR. POULTON:

   6        Q.    Now this does not look like the same house.         Is

   7   this a different house that the deputy's walking up to

   8   now about ten to fifteen seconds?

   9        A.    Yeah.    They're walking up to the wrong house.

 10         Q.    I'm sorry.     To the wrong house?

 11         A.    Yeah.

 12               (Video was played at this time.)

 13    BY MR. POULTON:

 14         Q.    All right.     All right.   I just wanted to

 15    clarify that.      So then they go over to -- here we get to

 16    about 49 seconds here, and this house they're at now,

 17    that's the 6029 Dublin Drive house?

 18         A.    Yes.

 19               (Video was played at this time.)

 20    BY MR. POULTON:

 21         Q.    Okay.    At the two minute mark somebody else has

 22    come out of the house there.       Who's that?

 23         A.    That's my mom.

 24         Q.    Okay.    So that is Mannie Tabor?

 25         A.    Marnie Tabor.
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 34 of 61 PageID 8135
                                                                             34


   1        Q.    Sorry, sorry, sorry.     Marnie Tabor, okay.

   2              (Video was played at this time.)

   3   BY MR. POULTON:

   4        Q.    So at about 2:45 or so there's discussion that

   5   the deputy says that the last time he was there was at

   6   the beginning of January.      We saw that video, and you

   7   reference somebody else having come out in between

   8   January 1 and March 31.      Do you recall that?

   9              MS. BROTHERS:    I'm going to object that it

 10         speaks for itself.

 11    BY MR. POULTON:

 12         Q.    Well, I'm just asking whether you remember this

 13    sequence of events where this particular deputy came and

 14    visited you on January 1, 2018, and then showed up a few

 15    months later, and you pointed out, hey, somebody had

 16    come out in the interim.      Do you remember it?

 17         A.    I just remember a whole bunch of stops.        I

 18    don't -- I -- I can't tell you exactly.

 19         Q.    Okay.

 20         A.    But like I said in the video, I know I

 21    probably -- I wasn't lying about it.

 22         Q.    I understand.    Okay.

 23               (Video was played at this time.)

 24               MR. POULTON:    All right.    So that's going to be

 25         Exhibit 3, Madam Court Reporter.       That is the body
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 35 of 61 PageID 8136
                                                                             35


   1        cam for March 31, 2018.       Okay?

   2               (Exhibit No. 3 was designated to be marked for

   3        identification.)

   4   BY MR. POULTON:

   5        Q.     All right.     And then did you catch the

   6   reference in there, Ms. Taylor, to a female deputy

   7   having come out in between the time that that same male

   8   deputy had come out in January and then in March?          Did

   9   you hear that?

 10         A.     Yes.

 11                MS. BROTHERS:     Objection.   Speaks for itself.

 12                MR. POULTON:     I think we're going to see that

 13         now.    This will be Exhibit I guess 4 now.

 14                (Video was played at this time.)

 15    BY MR. POULTON:

 16         Q.     During the -- around the two minute mark did

 17    you just -- as we listened to that, did you hear the

 18    deputy encouraging you not to give up on school?

 19                MS. BROTHERS:     I'm going to object that the

 20         video speaks for itself and that the -- to the --

 21         that the word encouraging is vague.

 22    BY MR. POULTON:

 23         Q.     Do you understand what I mean?      Do you take

 24    that to be -- that little snip-it we just saw, and I

 25    could play it again -- Ms. Taylor, would you agree with
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 36 of 61 PageID 8137
                                                                             36


   1   me that the deputy is encouraging you not to give up on

   2   school?

   3               MS. BROTHERS:    Object that the video speaks for

   4          itself.

   5               MR. POULTON:    I'm asking Ms. Taylor her

   6          perception.

   7          A.   I feel -- I feel like she was trying to be nice

   8   to get the answers that she wanted.

   9               MR. POULTON:    So that's, what, Exhibit 4 now I

 10           guess.    That's the February 25, 2018 video.     And

 11           we'll get these shipped to you, Madam Court

 12           Reporter.

 13                (Exhibit No. 4 was designated to be marked for

 14           identification.)

 15    BY MR. POULTON:

 16           Q.   Now in the videos that we watched -- well, let

 17    me ask you this.       Not in terms of the videos, but on the

 18    occasions that the deputies came out to talk to you --

 19    and I'm speaking holistically now, not just the ones we

 20    saw but all the others -- were the deputies polite to

 21    you?

 22                MS. BROTHERS:    Object to the form.

 23    BY MR. POULTON:

 24           Q.   Do you know what I mean?

 25           A.   Yes.
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 37 of 61 PageID 8138
                                                                             37


   1        Q.    Dalanea, you could -- you could --

   2        A.    No, not all of them.

   3        Q.    Okay.   So some were polite and some were not?

   4              MS. BROTHERS:    Objection to form.     You can

   5        answer, Dalanea.

   6        A.    I feel -- I feel like they were only polite

   7   when they wanted the answer -- I mean the answers that

   8   they were asking.

   9   BY MR. POULTON:

 10         Q.    Okay.   So did you feel at the time that they

 11    were sincere and being cordial to you?

 12               MS. BROTHERS:    Same objection.

 13         A.    They just made me feel uncomfortable to answer

 14    their questions, so I did.

 15    BY MR. POULTON:

 16         Q.    Did you ever tell them you're making me feel

 17    uncomfortable?

 18         A.    No, that's not something I -- I mean I -- I

 19    wouldn't come off to a officer and say you're making me

 20    feel uncomfortable.      That's just the feeling.

 21         Q.    Did any deputy ever demand to come into the

 22    residence there at 6029 Dublin Drive?

 23         A.    Not at 620 -- I mean whatever, but they have at

 24    7208 Adare Drive.

 25         Q.    7208 Adare?
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 38 of 61 PageID 8139
                                                                             38


   1        A.    Yes.

   2        Q.    Who lives at 7208 Adare?

   3        A.    Karen Hodges.

   4        Q.    Who is Karen Hodges?

   5        A.    Also somebody I used to live with.

   6        Q.    Did you live at 7208 Adare Drive?

   7        A.    Yes.

   8        Q.    Were you there when they demanded to come

   9   inside?

 10         A.    Yes.

 11         Q.    When did this happen?

 12         A.    I'm not sure the exact date.

 13         Q.    Was it before you went to prison or after?

 14         A.    After.

 15         Q.    Okay.    I thought that we had established that

 16    you lived at 6029 Dublin Drive when you got out of

 17    prison?

 18         A.    I --

 19         Q.    Okay.

 20         A.    I never really had any -- sorry.       I never

 21    really had a -- a steady -- a steady home.         Like I was

 22    from -- I was jumping from house to house to house.           I

 23    did stay at 7208 for a -- off and on.        It was never a

 24    permanent address that I lived at.

 25         Q.    What do you remember about the deputies coming
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 39 of 61 PageID 8140
                                                                             39


   1   there and wanting to come inside?

   2        A.    The same thing.     What do you mean exactly what

   3   do I remember?

   4        Q.    Well, what do you remember about the

   5   circumstances?     Was it day or night, more than one

   6   deputy, why they were there?       Do you know -- can you

   7   give me any details?

   8        A.    It was nighttime.

   9        Q.    Okay.   And was there more than one deputy

 10    there?

 11         A.    Yes.

 12         Q.    And what did the deputy say?

 13         A.    He wanted to come inside and search the house

 14    and make sure the person they were looking for was not

 15    there.    There was nobody there.     It was not my house to

 16    allow them in.     And then they threatened to write me a

 17    citation for the numbers on the house and a stove that

 18    was sitting outside.

 19         Q.    Okay.   So let's back up just a little bit and

 20    kind of break that down.       So the deputy -- let me ask

 21    you, did you answer the door?

 22         A.    No, I was already outside.

 23         Q.    Okay.   So you were sitting outside.      Were you

 24    in the front area of the house?

 25         A.    I was on the front porch.
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 40 of 61 PageID 8141
                                                                             40


   1        Q.     Have you seen video of this interaction?

   2        A.     No, I have not.

   3        Q.     Okay.   So you're sitting outside on the front

   4   porch and a deputy came up; correct?

   5        A.     Yes.

   6        Q.     And the deputy said he was looking for

   7   somebody?

   8        A.     Yes.

   9        Q.     Did he say who?

 10         A.     He was my cousin, my cousin Justin Keevan.

 11         Q.     Okay.   Did he say why he was looking for Justin

 12    Keevan?

 13         A.     They had got a call that he did something and

 14    that he was --

 15         Q.     Okay.

 16         A.     -- that was the only place that they thought he

 17    would have been.

 18         Q.     Was this -- I recollect seeing some

 19    documentation at one point that he had made some

 20    comments that were perhaps suicidal in nature.          Is that

 21    in relation to that incident?

 22         A.     Yes.

 23         Q.     Okay.   Correct me if I'm wrong, but my

 24    recollection is that he made (unintelligible) and ran

 25    off from his house.
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 41 of 61 PageID 8142
                                                                             41


   1        A.    (Unintelligible).

   2              (Court reporter asked for clarification.)

   3   BY MR. POULTON:

   4        Q.    I said that it was my understanding that he

   5   made some comments about self-harm and then ran off, and

   6   I believe that Ms. Taylor was explaining the background

   7   a bit more.    So if she can just go ahead back in and do

   8   that, that would be great.

   9              Go ahead, Ms. Taylor.

 10               MS. BROTHERS:    I'll just place an objection to

 11         form as well.

 12               MR. POULTON:    Okay.

 13               MS. BROTHERS:    You can go ahead.

 14         A.    He -- him and his girlfriend, well, they had a

 15    lot of complications in their relationship or whatever,

 16    and my cousin would say things just for her -- to make

 17    her feel bad or whatever the case may be.         But he is --

 18    he was no -- he wasn't suicidal or nothing like that.            I

 19    had already spoken with him.       He just didn't want her to

 20    think that he was okay at the moment.        And then she

 21    ended up calling the police and sending them over to

 22    that house.    I made the police aware that he was not

 23    there or anywhere around, that I've already spoken to

 24    him, but he doesn't want to speak to them.         And they

 25    thought I was lying and demanded to go inside the house,
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                                                                             42


   1   and I told them I was not allowing them inside someone

   2   else's house.       It wasn't until she wanted to allow them

   3   into the house then she would.

   4               They still threatened me to -- threatened to

   5   write citations.       Then the owner pulled up, and she told

   6   them that, you know, Justin was not in the house.          Some

   7   reason they believed her and didn't have to do a home

   8   check.    Yeah, that's about it.

   9        Q.     Okay.    Did they actually issue a citation?

 10         A.     I left right after the homeowner pulled up.

 11    She never really told me if they wrote her a citation or

 12    not because she told them you can't really write me the

 13    citation because it's not my house and it's not my

 14    property.

 15         Q.     Whose house was it?

 16         A.     It was hers, Karen Hodges'.

 17         Q.     But Karen told them, "This is not my house, so

 18    don't" --

 19         A.     Karen told them that it wasn't -- it wasn't my

 20    house, it wasn't my property.

 21         Q.     Well, let me be clear -- a little bit clearer

 22    in my question, and I'll break it down a little bit so I

 23    understand what you're saying.       Did you get written a

 24    citation yourself that day?

 25         A.     No.
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                                                                             43


   1        Q.     To your knowledge, did Ms. Hodges get issued a

   2   citation that day?

   3        A.     Like I said, I'm not sure.     If she did, I don't

   4   know about it.

   5        Q.     Were you ever issued at any point -- not just

   6   this day but ever issued a code citation violation or

   7   code violation citation, I'm sorry, by the Pasco

   8   Sheriff's Office?

   9        A.     No.

 10         Q.     Do you know whether Ms. Jones, your

 11    grandmother, was ever issued a citation?

 12         A.     No.

 13         Q.     Okay.     Other than this one incident where you

 14    were at 7208 Adare Drive and there was the report

 15    regarding Mr. Keevan and them wanting to come into the

 16    house, was there ever any other occasion where deputies

 17    wanted to enter a house where you were living?

 18         A.     No.     Sorry, I have to plug this in.

 19         Q.     No problem.     You want -- we've been going about

 20    an hour and fifteen minutes.        Are you good to keep

 21    going?    I really am not going to have that many

 22    questions.        We can wrap it up, or if you want to take a

 23    five- or ten-minute break, we can do that.

 24         A.     We could keep going.     My baby is still

 25    sleeping.     He would have came in here and --
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                                                                             44


   1        Q.     Okay.   I understand.

   2               All right.   So just to be clear though, that

   3   was the only time when deputies -- when you interacted

   4   with deputies when they wanted to come into one of the

   5   residences that you were living at; correct?

   6        A.     Yes.

   7        Q.     Okay.   Were the other interactions that you had

   8   with deputies during the prolific offender checks after

   9   you got out of prison -- would you describe them as

 10    similar in tone to the ones that we saw, the three that

 11    we watched?

 12                MS. BROTHERS:     Objection to form.

 13    BY MR. POULTON:

 14         Q.     Do you understand my question?

 15         A.     No, not really.

 16         Q.     Okay.   The three videos we watched, was that

 17    pretty typical of the interaction that you had with the

 18    deputies?

 19                MS. BROTHERS:     Object to the form.   You can

 20         answer.

 21         A.     Where they -- they asked me multiple questions

 22    about my life, yes.

 23    BY MR. POULTON:

 24         Q.     Okay.   But in terms of their demeanor towards

 25    you, was that pretty consistent with what you saw in
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 45 of 61 PageID 8146
                                                                             45


   1   those three videos?

   2               MS. BROTHERS:    Same objection.

   3        A.     No.   There was -- there have been other ones

   4   that were just frankly just rude and made me even feel

   5   more uncomfortable.

   6   BY MR. POULTON:

   7        Q.     Do you remember their names?

   8        A.     No, I really don't remember anybody's name.

   9        Q.     Do you remember -- can you give me any

 10    information on the dates or anything that would help us

 11    pin down when those particular interactions might have

 12    occurred?

 13         A.     No, sir, I do not.

 14         Q.     You said that they made you feel uncomfortable

 15    or were -- well, we'll stick with that for now.          You

 16    said they made you feel more uncomfortable than on these

 17    other occasions.      How so?

 18         A.     Just the questions they would have.

 19         Q.     Were the questions primarily about whether you

 20    knew about other people committing crime in the area and

 21    whether you were staying out of crime, or were they

 22    personal, or it was a mix?

 23                MS. BROTHERS:    Same objection.

 24         A.     It was a mix.

 25                MR. POULTON:    Okay.   Madam Court Reporter, did
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                                                                             46


   1        you get there was an objection but she also

   2        answered?

   3              COURT REPORTER:     Yes, sir.

   4   BY MR. POULTON:

   5        Q.    Okay.   So sometimes they would ask you just

   6   questions -- if I'm correct you tell me or incorrect let

   7   me know.     But am I right that sometimes they would just

   8   ask you questions about whether you were committing

   9   criminal activity and whether other people were, some

 10    other times they would ask you personal questions, and

 11    sometimes they would ask you a mix of the two; is that

 12    fair?

 13               MS. BROTHERS:     Same objection.

 14               You can answer, Dalanea.

 15         A.    Yes.

 16    BY MR. POULTON:

 17         Q.    Okay.   So that's a fair characterization that

 18    it varied by deputy and occasion as to how intrusive

 19    they were?

 20               MS. BROTHERS:     Same objection.

 21               Unless I instruct you not to answer, you can

 22         answer, Dalanea.

 23    BY MR. POULTON:

 24         Q.    Well, just explain to you -- that's okay.        I'll

 25    just -- Dalanea, can you hear me?
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                                                                             47


   1        A.    Yes.

   2        Q.    Okay.   Just what she's pointing out is that

   3   from time to time I'll ask a question that Counsel wants

   4   to preserve an objection for for later.         If you

   5   understand the question and can answer it, you can go

   6   ahead.    It's only if she tells you not to answer that

   7   you should not.     Okay?

   8        A.    Yes.

   9              MS. BROTHERS:    That's right.

 10    BY MR. POULTON:

 11         Q.    Okay.   So the question that I was asking was

 12    whether or not it would be fair to say that the

 13    intrusiveness of the questions that you would face

 14    during these different encounters varied from deputy to

 15    deputy and from encounter to encounter?

 16               MS. BROTHERS:    Same objection.

 17         A.    Yes.

 18    BY MR. POULTON:

 19         Q.    Did any deputy ever use force on you in any of

 20    these -- physical force on you in any of your encounters

 21    with them during prolific offender checks?

 22         A.    No.

 23               MS. BROTHERS:    Objection.

 24    BY MR. POULTON:

 25         Q.    I'll rephrase the question.      For those
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                                                                             48


   1   occasions which you thought you were undergoing a

   2   prolific offender check, did any deputy ever use

   3   physical force on you?

   4               MS. BROTHERS:    Same objection.

   5               MR. POULTON:    Can I ask what the objection is

   6        just so we can try to fix it?

   7               MS. BROTHERS:    Just characterizing the

   8        encounters as like talking about -- I'm sorry --

   9        characterizing the tone of the encounters and

 10         grouping them together.

 11    BY MR. POULTON:

 12         Q.     Okay.   Well, how about I -- you know what?      One

 13    way to approach this would be this.        Has any Pasco

 14    Sheriff's deputy ever on any occasion used physical

 15    force against you?

 16         A.     No.

 17         Q.     Has anybody from the Pasco Sheriff's Office

 18    ever made any comment to you about whether or not

 19    prolific offender checks were necessary or a good or a

 20    bad idea?

 21                MS. BROTHERS:    Object to the form.

 22         A.     I don't understand what you're saying.

 23    BY MR. POULTON:

 24         Q.     Okay.   Has any Pasco Sheriff's deputy or

 25    anybody from the Pasco Sheriff's Office ever told you
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 49 of 61 PageID 8150
                                                                             49


   1   that you should not have been on the prolific offender

   2   list?

   3        A.     No.

   4        Q.     Do you know how it was that you came to be off

   5   of the prolific offender list?

   6        A.     What do you mean by that?

   7        Q.     Well, in one of the videos we watched there was

   8   discussion of you having found out that you were on a

   9   list and asking how much longer these checks were going

 10    to occur.     Do you recall that?

 11         A.     Well, when I was -- when I was released from

 12    prison, I was told that I -- they didn't give it no type

 13    of name.     They just basically said that when you're

 14    on -- when you get released from prison, they send out a

 15    deputy a few months after you get released and then, you

 16    know, that time will go away.        You know, the police will

 17    stop coming.        I think they told me about a six-month

 18    period.

 19                Then I had somebody come and interview me.

 20    That's when I found out I was on the list.

 21         Q.     Okay.     So your -- am I correct that your

 22    understanding was when you first got out of prison the

 23    first maybe couple of visits that you had you thought

 24    were in association with you having been released from

 25    prison, it had some connection to that?
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                                                                             50


   1        A.     Yes.

   2        Q.     And then you found out later that you were also

   3   on a list that was creating these other checks on you;

   4   is that correct?

   5        A.     Yes.

   6        Q.     Do you remember roughly when it was that you

   7   found out that you were on the list that would cause

   8   more checks to occur?

   9        A.     I'm not sure.    I'm not sure of the exact date.

 10    Yeah.     No, I'm not sure at all.    It was the newspaper

 11    people that came.

 12         Q.     You found out from -- well, let me ask you

 13    this.     When you first found out you were on the list,

 14    was it from the newspaper people or was it --

 15         A.     It was the newspaper, yes, reporter.

 16         Q.     You're doing -- we're almost to the end.       We've

 17    done so well.       This is the thing I talked about about

 18    letting me finish the question before you answer.          Okay?

 19         A.     Okay.

 20         Q.     So let me finish the question again.

 21                Did you first find out that you were on the

 22    prolific offender list from somebody from the newspaper

 23    or from the Pasco Sheriff's Office?

 24         A.     The newspaper reporter.

 25         Q.     Okay.    When you found out you were on the list,
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                                                                             51


   1   did you take any action to get taken off the list?

   2        A.    I just started working with other people.        I

   3   mean, I'm not -- I don't know -- I wouldn't know how to

   4   get myself off of that list.

   5        Q.    Well, did you call the Sheriff's Office to ask

   6   how would I get taken off the list?

   7        A.    No.

   8        Q.    Did you ask any of the deputies that came out,

   9   hey, how can I get taken off the list?

 10         A.    I -- the deputies stopped coming out after I

 11    started working with the newspaper reporters.

 12         Q.    Did you talk about the newspaper reporters with

 13    any of the deputies?

 14         A.    No.    It went viral on Facebook and stuff like

 15    that.

 16         Q.    Did any of the deputies that were coming out to

 17    visit you talk about any of the things that had gone

 18    viral on Facebook or in the newspaper?

 19         A.    No.    I haven't seen a deputy since.

 20         Q.    When you say since, you mean since what?

 21         A.    Since my report.

 22         Q.    You mean in the newspaper?

 23         A.    Yes.

 24         Q.    Do you know whether or not the newspaper report

 25    had anything to do with the deputies stopping to come
Case 8:21-cv-00555-SDM-CPT Document 137 Filed 06/06/22 Page 52 of 61 PageID 8153
                                                                             52


   1   visit other than the timing?

   2        A.    No, I'm not sure.

   3        Q.    Tell you what.        Let's take just a real quick

   4   three-minute break, five-minute break.             You want to just

   5   kind of check the baby and everything like that, and

   6   let's come back in like five minutes, but I think I'm

   7   probably done.       Okay?

   8        A.    Okay.

   9        Q.    Okay.     We'll come back in five.

 10         A.    Okay.

 11               (A break was taken at 2:30 p.m., and the

 12         deposition resumed at 2:39 p.m.)

 13    BY MR. POULTON:

 14         Q.    All right.        Ms. Taylor, thank you very much for

 15    your time.     I'm going to follow up with your attorneys

 16    on some of these reports.          We were just discussing that.

 17    And otherwise though, those are all the questions I have

 18    for you.     Okay?

 19         A.    Okay.

 20         Q.    Thank you very much.

 21               MS. BROTHERS:        I just have one question on --

 22               MR. POULTON:        Oh, I'm so sorry.     Yeah.

 23                             CROSS EXAMINATION

 24    BY MS. BROTHERS:

 25         Q.    So, Ms. Taylor, we were talking about some of
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                                                                               53


   1   the videos of the prolific offender checks made on you.

   2   Were you okay with the frequency of these visits and the

   3   questions that you were asked during these visits?

   4        A.     No, I was not.

   5               MS. BROTHERS:        Okay.       That's all the questions

   6        that I have.

   7               MR. POULTON:     All right.           Thank you.

   8                          *     *     *     *    *   *

   9               (THEREUPON, THE TAKING OF THE DEPOSITION WAS

 10         CONCLUDED AT 2:40 P.M.)

 11                           *     *     *     *    *   *

 12                         S T I P U L A T I O N

 13              It was thereupon stipulated and agreed by and

 14    between counsel present for the respective parties and

 15    the deponent that the reading and signing of this

 16    deposition is not waived.

 17                           *     *     *     *    *   *

 18

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                                                                             54


   1                         CERTIFICATE OF OATH

   2   STATE OF FLORIDA

   3   COUNTY OF PASCO

   4           I, the undersigned authority, certify that

   5   DALANEA TAYLOR appeared before me via Zoom and was

   6   duly sworn on May 18, 2022.

   7           WITNESS my hand and official seal this 2nd

   8   day of June, 2022.

   9

 10

 11                            ________________________________
                               Judy Anderson
 12                            Notary Public - State of Florida
                               Commission No.: GG 276821
 13                            My Commission Expires: 1-5-2023

 14

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   1                       CERTIFICATE OF REPORTER

   2

   3   STATE OF FLORIDA

   4   COUNTY OF PASCO

   5

   6           I, JUDY ANDERSON, Court Reporter, certify that I

   7   was authorized to and did stenographically report the

   8   foregoing deposition and that the transcript is a true

   9   record of the testimony given by the witness.

 10

 11            I further certify that I am not a relative,

 12    employee, attorney, or counsel of any of the parties,

 13    nor am I a relative or employee of any of the parties'

 14    attorney or counsel connected with the action, nor am I

 15    financially interested in the action.

 16

 17            Dated this 2nd day of June, 2022.

 18

 19                                  ______________________________
                                     Judy Anderson, Court Reporter
 20

 21

 22

 23

 24

 25
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   1   DALANEA TAYLOR; TAMMY
       HEILMAN; DARLENE DEEGAN;
   2   and ROBERT A. JONES, III,

   3      Plaintiffs,

   4   vs.                          Case No.: 8:21-cv-00555-SDM-CPT

   5   CHRIS NOCCO, in his
       official capacity as
   6   Pasco County Sheriff,

   7     Defendant.
       ________________________/
   8

   9

 10                       DEPONENT'S SIGNATURE PAGE

 11

 12               I HAVE READ THE FOREGOING TRANSCRIPT OF MY

 13          DEPOSITION AND HEREBY SUBSCRIBE TO THE FOREGOING

 14          DEPOSITION, SAID SUBSCRIPTION TO INCLUDE ANY

 15          CORRECTIONS AND/OR AMENDMENTS HERETO.

 16

 17
       ___________________________
 18    Dalanea Taylor

 19
       ___________________________
 20    Date

 21

 22

 23

 24

 25
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   1                             ERRATA SHEET

   2   PAGE     LINE                    CORRECTION

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